      Case 1:16-cr-00071-SPW Document 103 Filed 09/11/17 Page 1 of 1
                                                                     FILED
                                                                     S£p 11 2
                 IN THE UNITED STATES DISTRICT COURT c~               017
                     FOR THE DISTRICT OF MONTANA       b~c, b?istrictcourt
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                           BILLINGS DIVISION              Biltin':sontana


 UNITED STATES OF AMERICA,                   CR 16-71-BLG-SPW - .;2..

                         Plaintiff,

           vs.                               ORDER DISMISSING
                                             INDICTMENT WITHOUT
 SHEILA AYALA,                               PREJUDICE

                         Defendant.




      Upon the United States' Unopposed Motion to Dismiss Indictment Without

Prejudice (Doc. 102), and for good cause appearing therefore,

      IT IS HEREBY ORDERED that the indictment against Defendant, Sheila

Ayala is DISMISSED without prejudice.

      IT IS FURTHER ORDERED that the trial scheduled for September 18,

2017, is VACATED.

      DATED this    //'1ay of September, 2017.

                                      ~f".J~L
                                      SlJSANP.WATTERS
                                      United States District Judge



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